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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                  4:15CR3010

      vs.
                                                                     ORDER
MARISELA PESCADOR,

                       Defendant.

      The court has released the defendant on conditions which do not include the
posting of any bond.


      Accordingly, on the court’s own motion,


      IT IS ORDERED that the $50,000 surety bond lodged on March 2, 2015 in the
Central District of California (Riverside), and secured by real estate described as 26199
Leafwood Drive, Moreno Valley, CA 92555, is exonerated.

      DATED this 12th day of March, 2015.

                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
